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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 RICHARD N. BELL,                             )
            Plaintiff                         )
                                              )
 v.                                           )      Case No. 1:16-cv-01174-TWP-MPB
                                              )
 CARMEN COMMERCIAL REAL                       )
 ESTATE SERVICES                              )
           Defendant.                         )


                     APPENDIX OF EXHIBITS TO MOTION FOR LEAVE TO FILE
                SECOND MOTION FOR SUMMARY JUDGMENT AND AMENDED ANSWER

           Defendant Carmen Commercial Real Estate Services (“Carmen”), submit the below

 exhibits in support of their Second Motion for Summary Judgment, filed herewith.

 Exhibit                                          Description
    1        Chronological Case Summary, Cause No. 49012-0811-DR-053868
    2        Deposition of R. Bell in Case No. 1:16-cv-01193-RLY-DML
    3        2008 Verified Financial Declaration
    4        2009 Verified Financial Declaration
    5        Bell’s Divorce Decree
    6        Deposition of R. Bell
    7        West Publishing Group Agreement
    8        Deposition of I. Levin in Cause No. 1:16-cv-01193-RLY-DML
    9        Front Page of C&M Website
   10        May 5, 2018 Indianapolis Star Article “Copyright infringement lawsuits make Indy
             skyline photo worth a lot more than 1,000 words”
      11     Google Image Search results for “Indianapolis Skyline Canal”
      12     Bell v. Bell – IN Ct. of Appeals Opinion.
      13     Retroactive License Email
      14     Compilation of Bell Demand Emails
      15     Florida Dissolution of A1 Luxury Limousine of South Florida, Inc.
      16     Proposed Amended Answer
      17     Proposed Motion for Summary Judgment


                                              Respectfully submitted,
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                                                By:    s/ Paul B. Overhauser
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                                                Services, Inc.

                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing is being filed electronically, and notice
 hereof will automatically be sent to all counsel of record that participate in electronic filing, by
 operation of the Court’s electronic filing system. Parties may access this filing through the
 Court’s system.



                                                By:    s/ Paul B. Overhauser
                                                Paul B. Overhauser




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